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                                       No. 23-1453


               In the United States Court of Appeals
                       for the Fourth Circuit
               ______________________________________________________

                DONNA BUETTNER-HARTSOE; N.H., by and through her
                   Parent and Next Friend Donna Buettner-Hartsoe,
                                Plaintiffs-Appellees

                                            v.

            BALTIMORE LUTHERAN HIGH SCHOOL ASSOCIATION, d/b/a
                         Concordia Preparatory School,
                             Defendant-Appellant

               ______________________________________________________

                      On Appeal from the U.S. District Court for the
                     District of Maryland (No. 1:20−cv−03132−RDB)
                   (Honorable Richard D. Bennett, U.S. District Judge)
               ______________________________________________________

                         BRIEF FOR PLAINTIFFS/APPELLEES
               ______________________________________________________

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        I. INTRODUCTION

           Title IX of the Education Amendments Act of 1972 provides, in pertinent

        part, that “[n]o person in the United States shall, on the basis of sex, be

        excluded from participation in, be denied the benefits of, or be subjected to

        discrimination under any education program or activity receiving Federal

        financial assistance . . . .” 20 U.S.C. §1681(a).

           At issue in this interlocutory appeal by permission is “whether 501(c)(3)

        tax exempt status constitutes federal financial assistance under Title IX.”

        JA476. The district court answered this question in the affirmative in a

        well-reasoned opinion. JA105-117. Defendant Baltimore Lutheran High

        School, d/b/a Concordia Preparatory School (hereinafter Concordia Prep),

        maintains that the district court erred and that its interlocutory order

        denying Concordia Prep’s motion for partial summary judgment should be

        reversed.

           Title IX, it is undisputed for purposes of this appeal, is a form of

        Spending Clause legislation. In exchange for receiving federal financial

        assistance, recipients must comply with Title IX’s provisions. Given the

        contractual nature of Spending Clause legislation, the Supreme Court and

        this Court have held that the conditions that Title IX imposes on the
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        recipients    of   federal   financial   assistance    must     be   communicated

        unambiguously. Courts have applied this requirement both to the scope of

        what Title IX covers — meaning what actions or inactions will subject a

        recipient to liability — and to what forms of relief are available under Title

        IX.

              However, contrary to the centerpiece of Concordia Prep’s argument

        here, neither the Supreme Court nor this Court has applied the “must be

        communicated unambiguously” requirement to determining whether the

        entity that receives federal financial assistance knew or had reason to know

        that it was subjecting itself to Title IX’s requirements as the result of

        receiving that financial assistance.

              Here, it is undisputed that Concordia Prep knowingly and intentionally

        sought and obtained federal tax-exempt status under 26 U.S.C. §501(c)(3)

        and continues to enjoy that status even now. JA055, JA116. It is further

        undisputed that having 501(c)(3) status has conferred significant financial

        benefits on Concordia Prep. JA313-317. Stated plainly, Concordia Prep has

        more money at its disposal as a result of being a 501(c)(3) organization than

        it would otherwise have. Id. If Concordia Prep wishes to escape the




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        obligations that Title IX imposes, the school can forfeit its 501(c)(3) status at

        any time.

           In Grove City College v. Bell, 465 U.S. 555, 565, 569-70 (1984), the Supreme

        Court made clear that an educational institution is the recipient of federal

        financial assistance whether the money is received directly or indirectly.

        Moreover, according to the regulations defining federal financial assistance

        for purposes of Title IX on which Concordia Prep relies (Blue Br. at 16-18),

        federal financial assistance need not consist of money flowing from federal

        coffers into the bank account of an educational institution. See 31 C.F.R.

        §28.105; 34 C.F.R. §106.2(g). Again, it is undisputed here that Concordia

        Prep has more money at its disposal as the result of its 501(c)(3) status than

        had it not affirmatively sought to obtain, and affirmatively decided to

        retain, its federal tax-exempt status.

           Having demonstrated that Concordia Prep is wrong in maintaining that

        the “must be communicated unambiguously” requirement extends to

        whether an entity is “receiving Federal financial assistance,” this case boils

        down to whether the district court and other courts that have reached the

        same conclusion were correct in determining that 501(c)(3) status equates

        to receiving federal financial assistance. For the reasons demonstrated


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        herein, the district court in this case reached the correct result. Concordia

        Prep’s argument that it would be too difficult for a small school to comply

        with Title IX is refuted by the fact that small schools do just that day-in and

        day-out. And the argument that it would be burdensome for 501(c)(3)

        organizations to comply with other Spending Clause mandates is refuted

        by the fact that no organization is forced to obtain or retain 501(c)(3) status

        against its will.

           For these reasons and the reasons set forth below, the district court’s

        decision should be affirmed.



        II. ISSUE ON APPEAL

           The issue that the district court certified for interlocutory appeal by

        permission (JA476) and that this Court accepted for review is:

                        Whether 501(c)(3) tax exempt status constitutes federal
                     financial assistance under Title IX?

        JA476, JA605-606.




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        III.   STATEMENT OF THE CASE

           A. Relevant Factual History

           Although it may be tempting to view this case as presenting a question

        of law that exists in a vacuum, the facts that give rise to this case are

        critically important to resolving the legal issue that this case presents.

           Plaintiff N.H. was a student at Concordia Prep in the 2017-2018 school

        year. JA108. However, her allegations are not simply that she was sexually

        harassed, assaulted, and bullied in that timeframe; her allegations are also

        that Concordia Prep’s overt and covert actions, before, during, and after

        the time of her enrollment at Concordia Prep, created an atmosphere where

        she and others like her were more likely to be victimized and injured by the

        culture of rampant sexual misconduct within the school. JA018-026.

           This is corroborated by evidence in the record from a member of the

        Concordia Prep Board of Directors, who sounded the alarm bell with the

        Board and Headmaster Brent Johnson, decrying the culture of sexual

        misconduct in existence at Concordia Prep before and during the 2019-2020

        school year; emails from parents to Concordia Prep administrators

        regarding concerns of sexual misconduct on campus in 2019; testimony

        from Concordia Prep administrators concerning its knowledge of rumors


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        of sexual misconduct on campus as far back as 2008 and even up until 2020;

        testimony from Concordia Prep administrators concerning the school’s

        knowledge of inappropriate sexual conduct on campus involving nude

        photos as far back as 2009; and testimony from Concordia Prep

        administrators and related documents concerning the school’s knowledge

        of child pornography circulating on campus in 2018. JA063.

           For purposes of this appeal, Concordia Prep does not dispute that N.H.

        and her mother, the plaintiffs herein, have asserted and substantiated

        claims that are cognizable under Title IX and that, if proven to the

        satisfaction of the fact-finder, would enable them to recover damages

        under Title IX against Concordia Prep.

           It is also undisputed that Concordia Prep operates under the aegis of tax

        exemption for non-profit organizations pursuant to section 501(c)(3) of the

        Internal Revenue Code. JA055, JA116. In Baltimore Lutheran High School

        Association’s Audited Financial Statements for 2010-2019, the school

        expressly confirms its tax-exempt status under 501(c)(3) in each of its

        annual reports, beginning in 2010 and continuing through the 2019-2020

        fiscal year. JA055.




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           An organization doesn’t simply have 501(c)(3) status magically

        bestowed upon it. Rather, an organization seeking 501(c)(3) status must

        apply for the status and demonstrate that it qualifies to receive the status.

        Among the benefits of having 501(c)(3) status is that an organization no

        longer has to pay federal taxes on its income. In addition, third-party

        donors can themselves seek and obtain a tax deduction for making

        charitable contributions to a 501(c)(3) organization. Such tax deductions,

        when applicable, can result in the organization receiving larger

        contributions than it would receive were a tax deduction not available.

           For example, if someone was subject to a 30-percent federal tax rate,

        earning $200 would result in a net income of $140 after paying $60 in

        federal taxes on those earnings. If that same person donated the $200

        instead to a 501(c)(3) organization and was able to claim a tax deduction for

        the entire amount of the donation, he or she would avoid having to pay

        any taxes on the $200 and thus the organization would receive the full

        amount earned pre-tax, instead of receiving only $140 after taxes if the

        donor was not entitled to claim a federal tax deduction.

           These two scenarios that a 501(c)(3) organization regularly enjoys — not

        having to pay federal taxes on its own income, and qualifying to receive


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        larger donations from donors who can deduct the amount of the donation

        pre-tax from their own federal net income otherwise subject to taxation —

        are among the ways that having 501(c)(3) status provides direct financial

        benefit to organizations such as Concordia Prep.

           The evidence in the record before the district court confirms that

        Concordia Prep repeatedly sought to maximize the charitable donations it

        received by touting its 501(c)(3) status. JA313-317. It would be laughable for

        Concordia Prep to contend on the record of this case that it did not obtain

        substantial financial benefit as the result of having its 501(c)(3) status, and

        no doubt that explains why Concordia Prep has failed to deny that having

        501(c)(3) status has benefitted it greatly by increasing the money it has on

        hand to spend for whatever purposes it may choose.



           B. Relevant Procedural History

           Plaintiffs Donna Buettner-Hartsoe and her daughter, N.H., initiated this

        suit in the U.S. District Court for the District of Maryland on October 28,

        2020. JA1. This suit ended up being one of five separate cases, all involving

        similar allegations against the same defendants but brought by different




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        plaintiffs, that were consolidated for resolution by the district court in the

        decision now under review. JA105-117.

           Thus, there were five different female students of Concordia Prep who

        sought relief under Title IX alleging sexual assault and severe sexual

        harassment and bullying during the same time period. JA106. They alleged,

        among other things, that school officials failed to adequately address their

        numerous complaints or take any meaningful action in response, thereby

        cultivating a hyper-sexualized culture at the school. JA106-107.

           In all five cases, defendant Concordia Prep eventually filed a motion to

        dismiss, or in the alternative for partial summary judgment, asserting that

        plaintiffs’ claims against them under Title IX could not proceed because

        Concordia Prep supposedly did not receive federal financial assistance

        during the relevant time. JA107. The district court construed Concordia

        Prep’s motion as seeking partial summary judgment and denied the

        motion on the merits. JA108. As the district court’s Memorandum Opinion

        explained, “This argument is without merit, as the tax-exempt status of the

        Defendant under 26 U.S.C. §501(c)(3) constitutes federal financial

        assistance for the purposes of Title IX.” JA107.




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           Concordia Prep thereafter moved for reconsideration or, in the

        alternative, for certification of the district court’s order for interlocutory

        appeal by permission. JA121. After briefing and oral argument, including

        the submission of numerous trial court amicus briefs in support of

        Concordia Prep that the district court considered, the district court

        concluded that reconsideration was not merited. JA480. However, the

        district court agreed to certify its order for interlocutory appeal by

        permission. Id. Concordia Prep then filed a Petition for Permission to

        Appeal in this Court, which this Court granted. JA605-606.



        IV.   SUMMARY OF THE ARGUMENT

           The district court correctly held that defendant Concordia Prep’s

        501(c)(3) tax-exempt status constituted federal financial assistance for

        purposes of Title IX, and its decision should therefore be affirmed.

           In seeking reversal, Concordia Prep asserts that only if it were

        unambiguously clear that 501(c)(3) status could subject an organization to

        Title IX would affirmance be proper, but that argument is meritless.

           In connection with Title IX and other Spending Clause legislation, the

        U.S. Supreme Court and this Court have limited their application of the


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        “unambiguously      clear”   requirement      to   two   categories   of   issues:

        (1) whether liability exists under the Act for the wrongdoing alleged; and

        (2) whether the forms of relief being pursued are available remedies in the

        breach-of-contract setting in which these claims arise. By contrast, no

        precedent establishes that the “unambiguously clear” requirement also

        applies to whether a Title IX defendant was, or intended to become, the

        recipient of federal financial assistance.

           The U.S. Supreme Court in Grove City College, supra, held that federal

        financial assistance can exist whether direct or indirect. In this case, it exists

        indirectly due to the many financial benefits Concordia Prep realizes

        thanks to its 501(c)(3) status. Moreover, the regulations on which

        Concordia Prep relies defining federal financial assistance for purposes of

        Title IX actually help plaintiffs here, because they demonstrate that it is not

        necessary for money to flow from federal coffers to the bank account of an

        organization for that organization to receive federal financial assistance.

           The contractual element of a Spending Clause obligation is satisfied here

        because Concordia Prep purposefully sought 501(c)(3) status to obtain the

        financial benefits it afforded. And Title IX, enacted in 1972, gives clear

        notice that recipients of federal financial assistance are subject to its


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        provisions. Whether Concordia Prep knew or should have known that, as a

        result of its 501(c)(3) status, it was subject to Title IX is irrelevant, because

        that is simply not a requirement for establishing whether an organization

        receives federal financial assistance.

           Concordia Prep’s other arguments for reversal fare no better. The

        contention that small schools cannot feasibly comply with Title IX is

        refuted by the fact that small schools and small colleges are and have been

        routinely doing so. It would not even require the hiring of any additional

        employees. And the concern that affirmance might affect countless other

        501(c)(3) organizations by requiring them to comply with the laudatory

        goals of this or other Spending Clause legislation is difficult to get too

        worked up over, given that 501(c)(3) status has been forced on no one and

        can be forfeited upon request.

           The district court correctly held that Concordia Prep is subject to Title IX

        as the result of its 501(c)(3) status, and that decision should be affirmed.




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        V. ARGUMENT

           A. The District Court Correctly Held That A 501(c)(3) Federal Tax
              Exemption Qualifies As Federal Financial Assistance Under
              Title IX

           In Cannon v. University of Chicago, 441 U.S. 677 (1979), the Supreme

        Court recognized that “Title IX, like its model Title VI, sought to

        accomplish two related, but nevertheless somewhat different, objectives.

        First, Congress wanted to avoid the use of federal resources to support

        discriminatory practices; second, it wanted to provide individual citizens

        effective protection against those practices.” Id. at 704.

           In Regan v. Taxation With Representation, 461 U.S. 540 (1983), then-Justice

        Rehnquist’s opinion for the Court, in a case involving a 501(c)(3)

        exemption, explained that “[b]oth tax exemptions and tax-deductibility are

        a form of subsidy that is administered through the tax system. A tax

        exemption has much the same effect as a cash grant to the organization of

        the amount of tax it would have to pay on its income.” Regan, 461 U.S. at

        544.

           In a case that involved Title IX, the Supreme Court ruled in Grove City

        College v. Bell, 465 U.S. 555 (1984), that “Title IX coverage is not foreclosed

        because federal funds are granted to Grove City’s students rather than


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        directly to one of the College’s educational programs.” Id. at 569-70. The

        Court recognized therein that “[t]he economic effect of direct and indirect

        assistance is often indistinguishable.” Id. at 565.

            The Grove City case is noteworthy because that educational institution

        did not want to be subject to Title IX and affirmatively sought to avoid Title

        IX’s strictures and requirements. Rejecting the college’s desire to avoid

        Title IX’s application, the Supreme Court ruled that the fact that students

        attending the college had received federal Basic Educational Opportunity

        Grants (BEOG) sufficed to subject the college’s financial aid program to

        Title IX. See Grove City, 465 U.S. at 559-62, 573-76. Grove City directly refutes

        Concordia Prep’s argument that an educational institution can only be

        subjected to Title IX if it knowingly and voluntarily agrees to be.1

            Given Grove City’s holding that indirect economic benefit can suffice to

        constitute receiving federal financial assistance for purposes of Title IX, it is

        especially noteworthy that in Walz v. Tax Comm’n, 397 U.S. 664 (1970), the




        1  The Supreme Court in Grove City recognized that the school could
        choose going forward to “terminate its participation in the BEOG program
        and thus avoid the requirements of” Title IX. See 465 U.S. at 575. Similarly
        here, Concordia Prep can choose to no longer be subjected to Title IX in the
        future by opting to forfeit its 501(c)(3) exemption.


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        Supreme Court recognized that “[g]ranting tax exemptions to churches

        necessarily operates to afford an indirect economic benefit . . . .” Id. at 674.

           A couple of more recent Supreme Court cases examine when the

        economic benefit of receiving federal financial assistance is too indirect to

        subject the supposed recipient to Spending Clause obligations. In United

        States Dep’t of Transp. v. Paralyzed Veterans of Am., 477 U.S. 597 (1986), the

        Supreme Court held that federal grants used to build airport runways and

        the federal government’s funding and operation of the federal air traffic

        control system were both too indirect to cause airlines to be the recipients

        of federal financial assistance under the Rehabilitation Act. According to

        the Court, the argument that the airlines were thus subject to the

        Rehabilitation Act “confuses intended beneficiaries with intended recipients”

        of federal financial assistance. Id. at 606.

           For present purposes, however, the Supreme Court’s ruling in Paralyzed

        Veterans is most noteworthy for what the decision did not say — nowhere in

        the ruling did the airlines argue or did the Court hold that the

        Rehabilitation Act could not apply to the airlines because they never

        voluntarily agreed to be subjected to its requirements of the Rehabilitation

        Act as the result of having federal funding pay for airport runways or


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        having the federal government create and fund an air traffic control

        system. If the argument that Concordia Prep presses here were valid —

        that the alleged recipient of federal financial assistance must agree to

        accept it knowing that doing so would trigger Spending Clause liability —

        then that argument certainly would have proved dispositive in Paralyzed

        Veterans. No one made that argument there because the argument simply

        doesn’t fly. In any event, here the federal financial assistance that

        Concordia Prep realizes from its 501(c)(3) exemption flows directly into

        that educational institution’s bank account.

           In a decision the relevant aspect of which Concordia Prep incorrectly

        dismisses as dicta, the Eleventh Circuit in M.H.D. v. Westminster Schools, 172

        F.3d 797 (11th Cir. 1999), held that “appellant’s allegation that tax-exempt

        status constitutes ‘Federal financial assistance’ is neither immaterial nor

        wholly frivolous,” and thus the district court possessed subject-matter

        jurisdiction over the plaintiff’s Title IX claims in the case. Id. at 802 n.12.

        Indeed, the Eleventh Circuit’s discussion of the issue cannot even

        legitimately be regarded as “faint praise,” because the standard for

        determining whether subject matter jurisdiction exists asks merely whether

        the claim is “wholly insubstantial and frivolous.” Id. (internal quotations


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        omitted). Because the Eleventh Circuit ruled against the plaintiff’s claim in

        that case on statute of limitations grounds, it had no occasion to delve any

        further into whether “a federal tax exemption actually constitutes ‘Federal

        financial assistance’ under Title IX.” Id. To be sure, the Eleventh Circuit in

        M.H.D. did not decide the issue that this appeal presents, but what it did

        decide relating to that issue did not constitute dicta in the circumstances of

        that case.

           More recently, in E.H. ex rel. Herrera v. Valley Christian Academy, 616 F.

        Supp. 3d 1040 (C.D. Cal. 2022), the district court reached exactly the same

        result as the district court in this case: “the Court holds that Valley

        Christian’s tax-exempt status confers a federal financial benefit that

        obligates compliance with Title IX.” Id. at 1050. The decision under review

        here is far from the outlier that Concordia Prep attempts to depict.

           Other federal district court decisions also support the district court’s

        ruling now before this Court for review. In Green v. Connally, 330 F. Supp.

        1150 (D.D.C. 1971), a three-judge federal district court issued a decision

        explaining that “tax exemptions and deductions certainly constitute a

        Federal Government benefit and support,” while recognizing “that support




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        is indirect, and is in the nature of a matching grant rather than an

        unconditional grant . . . .” Id. at 1164-65.

           Similarly, in McGlotten v. Connally, 338 F. Supp. 448 (D.D.C. 1972), a

        three-judge federal district court reasoned as follows:

                       We think there is little question that the provision of a tax
                    deduction for charitable contributions is a grant of federal
                    financial assistance within the scope of the 1964 Civil Rights
                    Act. “The charitable contribution deduction is a special tax
                    provision not required by, and contrary to, widely accepted
                    definitions of income applicable to the determination of the
                    structure of an income tax.” It operates in effect as a
                    Government matching grant and is available only for the
                    particular purposes and to the particular organizations outlined
                    in the Code. We see no difference between the provision of
                    Federal property “at a consideration which is reduced . . . in
                    recognition of the public interest to be served by such sale or
                    lease to the recipient,” and a tax deduction in the form of a
                    matching grant provided for contributions to causes deemed
                    worthy by the Internal Revenue Code.

        Id. at 462 (footnotes omitted); see also Fulani v. League of Women Voters Educ.

        Fund, 684 F. Supp. 1185, 1192 (S.D.N.Y. 1988) (holding, in the context of

        plaintiff’s Title VI and Title IX claims, that “the League receives federal

        assistance indirectly through its tax exemption” before rejecting those

        claims on the merits for other reasons).

           Concordia Prep incorrectly attempts to characterize the district court’s

        conclusion that 501(c)(3) status constitutes the receipt of federal financial


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        support for purposes of Title IX as an outlier having scant support. On the

        contrary, as the many decisions discussed above demonstrate, the district

        court’s ruling is well-supported and is correct as a matter of law.



           B. The Spending Clause Requirement That Conditions On The
              Receipt Of Federal Financial Assistance Must Be Unambiguously
              Communicated Does Not Apply To Determining Whether A Party
              Is The Recipient Of Federal Financial Assistance

           Section 1681(a) of Title 20, United States Code, expressly stating that

        Title IX applies to “any education program or activity receiving Federal

        financial assistance,” provides the necessary notice for Title IX to be

        applied to Concordia Prep in this case. 20 U.S.C. §1681(a). Concordia Prep

        has failed to identify any precedent specifically holding that it (or any other

        recipient of federal financial assistance) was entitled to receive clearer or

        more emphatic notice that Title IX would apply. In any event, here

        Concordia Prep did have additional notice, in the form of the precedents

        on which the district court relied in holding that a 501(c)(3) exemption

        equates to “receiving Federal financial assistance.”

           Lacking any case law directly on-point in support of its argument,

        Concordia Prep is forced to engage in an elaborate work-around, relying



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        on plainly inapplicable rulings and then trying to extend their holdings to

        the question of whether “federal financial assistance” is or is not being

        received. Concordia Prep’s extraordinary efforts in this regard fail to

        persuade.

           Relying on case law establishing that conditions on the receipt of federal

        financial assistance must be communicated unambiguously in order to

        satisfy the contractual nature of Spending Clause obligations, Concordia

        Prep’s principal argument for reversal is that the school was not on notice

        that its 501(c)(3) tax exemption would equate to federal financial assistance

        for purposes of Title IX.

           Unfortunately for Concordia Prep, the “must be communicated

        unambiguously” requirement applies only to the types of conduct that can

        give rise to liability and the types of recovery available on a claim that is

        considered to be contractual in nature.

           The requirement in question traces its origin to the U.S. Supreme

        Court’s ruling in Pennhurst State School v. Halderman, 451 U.S. 1 (1981),

        which explained that “if Congress intends to impose a condition on the

        grant of federal moneys, it must do so unambiguously.” Id. at 17. In

        Pennhurst itself, the Court ruled that “we find nothing in the Act or its


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        legislative history to suggest that Congress intended to require the States to

        assume the high cost of providing ‘appropriate treatment’ in the ‘least

        restrictive environment’ to their mentally retarded citizens.” Id. at 18. Thus,

        in    Pennhurst,   the   thing   that    had     to   have   been    communicated

        unambiguously under the federal law at issue was whether Congress had

        clearly imposed certain substantive responsibilities on the recipients of

        federal aid.

             The Court applied a similar analysis in two more recent Title IX cases. In

        the first, Gebser v. Lago Vista Indep. School Dist., 524 U.S. 274 (1998), the

        Court resolved under what circumstances a school district could be held

        liable under Title IX where a school teacher had sexually harassed a high

        school student. See id. at 285–88. And, in Davis ex rel. LaShonda D. v. Monroe

        County Board of Educ., 526 U.S. 629 (1999), the Court decided what wrongful

        conduct will subject a school board to liability under Title IX in a case, like

        this one, involving student-on-student sexual harassment. Id. at 639-43.

             Pennhurst, Gebser, and Davis are all cases in which the Supreme Court

        addressed the “must be unambiguously communicated” requirement in

        reference to the conduct that was alleged to violate the Spending Clause

        statute applicable to the defendant in each case. None of these three cases


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        held that the “must be communicated unambiguously” requirement

        applied to whether the defendants in those cases were or were not

        recipients of federal financial assistance.

           The Supreme Court has also applied the “must be communicated

        unambiguously” requirement to another thing — the type of relief

        available to plaintiffs who prevail in suits of this nature — but that too fails

        to support Concordia Prep’s effort to obtain reversal here.

           In Barnes v. Gorman, 536 U.S. 181 (2002), the Supreme Court held that

        punitive damages could not be recovered on a private cause of action

        under the Americans with Disabilities Act or the Rehabilitation Act,

        because Spending Clause obligations are contractual in nature, and

        punitive damages are not ordinarily recoverable in an action for breach of

        contract. Id. at 185-89.

           Similarly, in Cummings v. Premier Rehab Keller, P.L.L.C., 142 S. Ct. 1562

        (2022), perhaps the case on which Concordia Prep relies most heavily in its

        Brief for Appellant, the Supreme Court ruled that emotional distress

        damages are not available under the Rehabilitation Act or the Affordable

        Care Act, because Spending Clause obligations are contractual in nature,

        and emotional distress damages are not ordinarily recoverable in an action


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        for breach of contract. Id. at 1570-76; see also Arlington Central School Dist. v.

        Murphy, 548 U.S. 291, 296-304 (2006) (holding that expert fees were not

        recoverable as costs to the prevailing parents in an Individuals with

        Disabilities    Education   Act   case   because    the   obligation   was    not

        unambiguously apparent).

           The “must be communicated unambiguously” authorities discussed

        above thus fall into two categories: they either involve the type of conduct

        giving rise to liability, or they involve the sort of recovery that can be

        awarded if a claim succeeds. None of these cases stands for the proposition

        that whether the defendant is the recipient of federal financial assistance

        must be communicated unambiguously.

           Perhaps one could reason that the issue never arises because whether an

        organization has affirmatively opted to accept federal financial assistance is

        rarely at issue in a Spending Clause dispute, especially where actual

        money is being paid from the federal government’s coffers to a private

        party. But not every case involves that scenario. Take Grove City, for

        example, where it was financial aid being provided to students that

        constituted the federal financial assistance that the college would be

        accepting, whether it knew of its existence or not.


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           Or consider the many things defined as federal financial assistance for

        purposes of Title IX in the applicable regulations on which Concordia Prep

        relies. In many of those instances, such as using federal property for less

        than fair market consideration or receiving the services of federal

        personnel, the recipient may not necessarily realize that it has received

        federal financial assistance because no transfer of money was involved. See

        31 C.F.R. §28.105; 34 C.F.R. §106.2(g)(3) & (4). Notably, in McGlotten, supra,

        a three-judge D.C. district court equated a 501(c) exemption to the

        provision of federal property at reduced consideration, which these

        regulations expressly say constitutes receiving federal financial assistance.

        See 338 F. Supp. at 462.

           Although Concordia Prep may claim ignorance concerning whether its

        501(c)(3) tax exemption constitutes receiving federal financial assistance, it

        is undisputed here that, as a result of having that tax exemption, Concordia

        Prep ended up with far more money at its disposal than it otherwise would

        have possessed. Moreover, the exemption was not conferred by

        happenstance on Concordia Prep. Rather, Concordia Prep had to request

        501(c)(3) status and then demonstrate that it qualified to receive it, and it

        must continue to do certain things (such as satisfying various reporting


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        requirements) in order to maintain it. And guess where the extra money

        that Concordia Prep gets to enjoy as the result of its 501(c)(3) status would

        instead end up if Concordia Prep lacked that status? Answer: Inside the

        coffers of the federal government as tax receipts. Under these

        circumstances, for Concordia Prep to deny that it is the recipient of federal

        financial assistance is to deny reality.

           To summarize, the centerpiece of Concordia Prep’s argument for

        reversal is entirely without support. The Supreme Court has never held

        that the “must be communicated unambiguously” requirement, applicable

        to certain aspects of Spending Clause disputes, extends to whether the

        organization being sued realized or intended it would be the recipient of

        federal financial assistance. In any event, here the reason why Concordia

        Prep qualifies as the recipient of federal financial assistance is because it

        purposefully sought and obtained 501(c)(3) status and took the affirmative

        steps necessary to achieve that status. And, if Concordia Prep truly does

        not want to be subject to Title IX’s provisions, it has the option to forfeit its

        501(c)(3) status, at which point going forward it will be free from Title IX’s

        constraints.




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           For these reasons, this Court should affirm the district court’s order

        denying Concordia Prep’s motion for partial summary judgment.



           C. The District Court Decisions And Other Materials Cited By
              Concordia Prep In Support Of Reversal Lack Persuasiveness

           District courts have divided over whether 501(c)(3) status equates to

        receiving federal financial assistance for purposes of Title IX or other

        Spending Clause provisions. However, a review of the case law that

        Concordia Prep has identified as supporting reversal demonstrates its

        unpersuasiveness.

           Reviewing the cases from newest to oldest, let’s begin with the decision

        in Zimmerman v. Poly Prep Country Day School, 888 F. Supp. 2d 317

        (E.D.N.Y. 2012). That decision’s analysis consists of a single footnote

        stating, in a perfunctory manner, that plaintiffs “further allege that Poly

        Prep enjoys tax-exempt status. Courts have held, however, that such status

        does not constitute federal financial assistance within the meaning of Title

        IX.” Id. at 332 n.2. Although the quote refers to “courts,” the lone authority

        cited consists of a Southern District of New York decision from 1976, which

        will be the final case we discuss in our reverse chronological examination



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        of the district court decisions that Concordia Prep says support reversal

        here.

           Next up is Russo v. Diocese of Greensburg, 2010 WL 3656579 (W.D. Pa.

        2010). That decision contains merely dicta in which the district court states

        “we are inclined to express our doubt, without necessarily deciding, that

        Russo could prove that . . . obtaining tax exempt status would transform a

        private, parochial school into a recipient of Federal Financial Assistance for

        purposes of Title IX and/or the Rehabilitation Act.” Id. at *3. Thus, Russo

        fails to contain any actual holding to support Concordia Prep here.

           Johnny’s Icehouse, Inc. v. Amateur Hockey Ass’n, 134 F. Supp. 2d 965 (N.D.

        Ill. 2001), stands perhaps as the strongest rejection of the outcome that the

        district court reached in this case. Therein, the district court held that

        “‘federal financial assistance’ encompasses only direct transfers of federal

        money, property or services from the government or a program,” id. at 972,

        relying on 34 C.F.R. §106.2(g). But that cramped view runs headlong into

        Grove City’s recognition that federal financial assistance will exist whether

        direct or indirect and thus lacks persuasiveness.

           Graham v. Tennessee Secondary School Athletic Ass’n, 1995 WL 115890 (E.D.

        Tenn. 1995), merely observes in a footnote that courts have come to


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        different conclusions whether tax-exempt status equals federal financial

        assistance, but the Court in Graham does not express its own conclusion on

        that issue. Id. at *11 n.4. Indeed, the holding that the district court reached

        in that case was that, for other reasons, “TSSAA therefore comes within the

        ambit of Title VI,” id. at 11, and thus it was unnecessary to address whether

        the organization’s tax-exempt status would by itself suffice.

           Concordia Prep’s reliance on Merrifield v. Beaven/Inter-American Cos.,

        1991 WL 171376 (N.D. Ill. 1991), is highly questionable. The defendant in

        that case did not have 501(c)(3) status. Rather, the district court’s statement

        therein that “[t]he term ‘assistance’ connotes transfer of government funds

        by way of subsidy, not merely exemption from taxation,” 1991 WL 171376,

        at *3, rejected the plaintiff’s argument that, because the defendant operated

        401(k) retirement plans for its employees, the defendant therefore was the

        recipient of federal financial assistance.

           Concordia Prep’s reliance on Chaplin v. Consolidated Edison Co., 628 F.

        Supp. 143 (S.D.N.Y. 1986), is similarly questionable. Obviously, Con Ed (a

        major New York City-based power supplier) was not a 501(c)(3)

        organization. That decision has no bearing on the correctness of the district

        court’s ruling in this case.


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           The relevant portion of Martin v. Delaware Law School, 625 F. Supp. 1288

        (D. Del. 1985), consists of a footnote stating, without any reasoning or

        analysis, that “‘assistance’ connotes the transfer of government funds by

        way of subsidy, not merely exemption from taxation.” Id. at 1302 n.13. In so

        ruling, the district court in Martin relied on Bachman v. American Soc’y of

        Clinical Pathologists, 577 F. Supp. 1257 (D.N.J. 1983). And Bachman based its

        conclusion on the definition of “federal financial assistance” found in

        regulations issued under the Rehabilitation Act. See id. at 1264. We address,

        below, why Concordia Prep’s reliance on similar Title IX regulations is

        unpersuasive.

           The last case for analysis is Stewart v. New York Univ., 430 F. Supp. 1305

        (S.D.N.Y. 1976). Therein, the district court, considering a claim under Title

        VI of the Civil Rights Act of 1964, perfunctorily stated that “the Court finds

        the Federal tax benefits granted to the Law School insufficient to support a

        claim . . . .” Id. at 1314. Once again, Concordia Prep relies on a conclusion

        offered without any supporting analysis. In short, the district court cases

        on which Concordia Prep relies fail to offer a compelling case for reversal.

           Concordia Prep’s reliance on the regulations defining “federal financial

        assistance” under Title IX also fails to compel reversal here. To begin with,


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        as explained above, these regulations actually support affirmance here. But

        whether something constitutes “federal financial assistance” does not

        present any ambiguity; rather, it is in the nature of the routine statutory

        construction inquiry that courts perform day-in and day-out.

           So-called Chevron deference is therefore neither necessary nor

        appropriate here. As the Chevron case itself recognized, “[i]f the intent of

        Congress is clear, that is the end of the matter; for the court . . . must give

        effect to the unambiguously expressed intent of Congress.” Chevron, Inc. v.

        Natural Resources Defense Council, Inc., 467 U.S. 837, 842-43 (1984); see also

        Johnson v. Guzman Chavez, 141 S. Ct. 2271, 2291 n.9 (2021) (“Chevron

        deference does not apply where the statute is clear”); Peltier v. Charter Day

        School, Inc., 37 F.4th 104, 128 (4th Cir. 2022) (en banc) (“because we

        conclude that Title IX unambiguously applies to sex-based dress codes, we

        do not reach the question whether a department’s rescission of its prior

        regulation would be entitled to deference”).

           Concordia Prep also relies on the contents of a publication titled “DOJ

        Title VI Legal Manual,” the publication date of which is not readily

        apparent. What is readily apparent, however, is that this publication does

        not purport to announce official Department of Justice policy; rather, the


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        publication serves in the nature of a treatise discussing case law relevant to

        its areas of discussion. Concordia Prep’s brief cites (or, unfortunately, mis-

        cites, because it refers to the wrong pages of the Joint Appendix) two

        passages from the Manual. Blue Br. at 18-19.

           At JA176, the Manual states that “[t]ypical tax benefits—tax exemptions,

        tax deductions, and most tax credits—are not considered federal financial

        assistance,” citing three cases. But the very next paragraph of the Manual

        states that “while these cases suggest that typical case benefits are not

        federal financial assistance, a few courts have found instances where tax

        benefits would be considered federal financial assistance.” JA176. The

        Manual takes no policy position on which approach is correct or incorrect

        as a matter of law.

           Concordia Prep’s brief goes on to cite another portion of the Manual,

        which actually appears at JA183. Blue Br. at 19. There, under the heading

        “What/Who Is a Recipient?” and the subheading “Direct Recipient”

        (JA181-182), the Manual states that “[t]he clearest means of identifying a

        ‘recipient’ of federal financial assistance is to determine whether the entity

        has voluntarily entered into a relationship with the federal government

        and receives federal assistance under a condition or assurance of


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        compliance with Title VI . . . .” JA183. Yet in its very next paragraph, the

        Manual recognizes that “[e]ven without a written or signed assurance,

        however, acceptance of federal financial assistance triggers coverage under

        Title VI.” JA183-184.

           The next subsection of the Manual is titled “Indirect Recipient.” It

        begins, “[f]inding that an entity directly receives federal financial assistance

        is usually the easiest way to identify a Title VI recipient. It is not, of course,

        the only way.” JA184. In short, Concordia Prep’s reliance on snippets from

        the Manual might strike an objective observer as selective and self-serving,

        because a broader review of the relevant portions of the Manual confirms

        that the publication fails to favor either side on the merits of the issue

        presented in this appeal.

           In sum, neither the district court decisions on which Concordia Prep

        relies nor the regulations providing examples of what constitutes federal

        financial assistance compel reversal here.




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           D. The Policy Arguments That Concordia Prep Advances For Reversal
              Are Unpersuasive

           Concordia Prep also advances a couple of policy reasons that it believes

        favor reversal, but neither has merit.

           First, the argument that it would be difficult or costly for a smaller

        school like Concordia Prep to comply with Title IX’s requirements fails to

        persuade. Title IX applies to numerous secondary schools from

        kindergarten through twelfth grade. See Amy B. Cyphert, Objectively

        Offensive: The Problem of Applying Title IX to Very Young Students, 51 Family

        L.Q. 325, 328 (2017).

           Small colleges and secondary schools, including public schools

        regardless of their size, routinely comply with Title IX as applicable to

        them without issue. See Franklin v. Gwinnett County Public Schools, 503 U.S.

        60 (1992) (recognizing that Title IX applied to an Atlanta-area public school

        system). Concordia Prep’s assertion that it would need to hire additional

        employees or sustain additional expense is without any support in the

        record.

           Indeed, we were shocked to discover that the citation that Concordia

        Prep offered in its Brief for Appellant at the bottom of page 33 for the



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        quotation, “[m]any of these directives would be nearly impossible for small

        or modest sized independent schools to comply with” — JA502 — was to

        an attorney’s argument contained in an amicus brief filed in the district

        court in support for Concordia Prep’s motion for reconsideration. That

        quotation is not evidence or testimony of record; rather, it consists of merely

        argument in an amicus brief. Id.

           Second, the assertion that it would be difficult for charitable

        organizations to comply with the highly laudatory requirements of

        Spending Clause legislation if 501(c)(3) status were to equate to receiving

        federal financial assistance also provides no persuasive argument for

        reversal. A 501(c)(3) organization retains the ability to opt-out of being

        subjected to any Spending Clause requirements that the organization

        deems objectionable by forfeiting its 501(c)(3) status. Just as here, if

        Concordia Prep does not want to have Title IX apply to it going forward, it

        can forfeit its 501(c)(3) status. That contract-like determination, whether to

        accept the burdens that accompany being a federal financial assistance

        recipient under 501(c)(3), remains open for any existing 501(c)(3)

        organization to resolve as it sees fit.




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        VI.   CONCLUSION

           For all of the foregoing reasons, the district court’s order denying

        Concordia Prep’s motion for partial summary judgment should be

        affirmed.



                                            Respectfully submitted,



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        Dated: August 4, 2023                      /s/ Howard J. Bashman
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